      Case: 1:21-cv-04398 Document #: 6 Filed: 10/01/21 Page 1 of 1 PageID #:346




                      UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

LEXINGTON INSURANCE COMPANY,                     )
                                                 )
                  Plaintiff,                     )
                                                 )
         v.                                      )
                                                 )
                                                         Case No. 1:21-cv-04398
BLUE CROSS AND BLUE SHIELD                       )
ASSOCIATION,                                     )
                                                 )
                  Defendant.                     )
                                                 )
                                                 )

                  NOTICE OF DISMISSAL PURSUANT TO FRCP 41(A)(1)(a)(i)

         Plaintiff LEXINGTON INSURANCE COMPANY (“Lexington”) hereby gives notice of

dismissal, without prejudice, pursuant to Federal Rule of Civil Procedure 41(A)(1)(a)(i), and

confirms that this notice is submitted to the Court before the Defendant has appeared, filed an

answer or motion for summary judgment in this action.

Dated: October 1, 2021                               Respectfully submitted,

                                                     LEXINGTON INSURANCE COMPANY

                                           By:       s/ David T. Brown
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4846-9332-9660, v. 1




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